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 1                                 UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
 3                                                   ***
 4    THOMAS BODOVINAC, an individual,                          Case No. 2:20-cv-01846-JAD-EJY
 5                   Plaintiff,
                                                                              ORDER
 6          v.
 7    HOME DEPOT, U.S.A., INC.; DOES I – X;
      and ROE CORPORATIONS I – X, inclusive,
 8
                     Defendants.
 9

10          Before the Court is the Proposed Joint Discovery Plan and Scheduling Order, Special
11   Scheduling Review Requested (ECF No. 8). The Proposed Plan and Order seeks a year-long
12   discovery period supported by the statements that this extraordinary initial discovery period is
13   needed because the parties are attempting to resolve this case and COVID-19 presents challenges
14   for discovery. The lack of more detailed information results in an insufficient basis to allow the
15   Court to consider the extraordinary discovery period requested. When the parties submit a revised
16   Proposed Plan and Order, the Court directs that they correct the typographical error that appears on
17   page 2, line 22, setting the initial disclosure due date for October 27, 2021.
18           Accordingly, IT IS HEREBY ORDERED that the Proposed Joint Discovery Plan and
19   Scheduling Order, Special Scheduling Review Requested (ECF No. 8) is DENIED. The parties shall
20   file a revised plan providing more information supporting the need for an initial discovery period of
21   365 days within fourteen (14) days of the date of this Order.
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23          Dated this 21st day of October, 2020
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                                                   ELAYNA J. YOUCHAH
27                                                 UNITED STATES MAGISTRATE JUDGE
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